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CASE NAME: Chinos Holdings, Inc., et al.
CASE NUMBER: 20-32181
JUDGE: Keith L. Phillips


                         UNITED STATES BANKRUPTCY COURT

                            EASTERN DISTRICT OF VIRGINIA

                                    RICHMOND DIVISION

                            MONTHLY OPERATING REPORT

                              MONTH ENDING: MAY 30, 2020




IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I
DECLARE UNDER PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING
MONTHLY OPERATING REPORT (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-6) AND
THE ACCOMPANYING ATTACHMENTS AND, TO THE BEST OF MY KNOWLEDGE, THESE
DOCUMENTS ARE TRUE, CORRECT AND COMPLETE. DECLARATION OF THE PREPARER
(OTHER THAN RESPONSIBLE PARTY): IS BASED ON ALL INFORMATION OF WHICH
PREPARER HAS ANY KNOWLEDGE.




RESPONSIBLE PARTY:

 /s/Vincent Zanna                                  Chief Financial Officer
ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                       TITLE


Vincent Zanna                                            6/30/2020
PRINTED NAME OF RESPONSIBLE PARTY                             DATE
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                                                               UNITED STATES BANKRUPTCY COURT
                                                              FOR THE EASTERN DISTRICT OF VIRGINA



In re: Chinos Holdings, Inc., et al.
                                                                                               Case No. (Jointly Administered)                             20-32181
                                                                                                          Reporting Period:                               30-May-20


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      REQUIRED DOCUMENTS                                                                                                                      Form No.
      Notes to Monthly Operating Report                                                                                                        Notes
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      Bank Account Information                                                                                                                MOR-2
      Schedule of Payments to Insiders                                                                                                        MOR-3
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      Postpetition Status of Secured Notes, Leases Payable, and Adequate Protection Payments                                                  MOR-5
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      Statement of Operations                                                                                                                Appendix A
      Balance Sheet                                                                                                                          Appendix B




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In re: Chinos Holdings, Inc., et al.                                                                                                                                                  MOR Notes
                                                                                                                            Case No. (Jointly Administered)                            20-32181
                                                                                                                                         Reporting Period:                            30-May-20


                                                                            Notes to the Monthly Operating Report

GENERAL:
The report includes activity from the following Debtors and related Case Numbers:


Debtor                                                                                 Case Number         Debtor                                              Case Number
Chinos Holdings, Inc                                                                   20-32181            J. Crew International, Inc.                         20-32190
Chinos Intermediate Holdings A, Inc                                                    20-32182            J. Crew Virginia, Inc.                              20-32180
Chinos Intermediate, Inc                                                               20-32183            Madewell Inc.                                       20-32191
Chinos Intermediate Holdings B, Inc                                                    20-32184            J. Crew Brand Holdings, LLC                         20-32192
J. Crew Group, Inc.                                                                    20-32185            J. Crew Brand Intermediate, LLC                     20-32193
J. Crew Operating Corp.                                                                20-32186            J. Crew Brand, LLC                                  20-32194
Grace Holmes, Inc.                                                                     20-32187            J. Crew Brand Corp.                                 20-32195
H.F.D. No. 55, Inc.                                                                    20-32188            J. Crew Domestic Brand, LLC                         20-32196
J. Crew, Inc.                                                                          20-32189            J. Crew International Brand, LLC                    20-32197

Notes to the MOR:
The Debtors are filing their consolidated Monthly Operating Report (MOR) solely for the purposes of complying with the monthly operating report requirements applicable in the Debtors’
chapter 11 cases. The financial and supplemental information contained herein is presented on preliminary and unaudited basis, remains subject to future adjustments and may not comply in all
material respects with generally accepted accounting principles in United States of America (“U.S. GAAP”). This MOR should not be relied on by any persons for information relating to current
or future financial conditions, events, or performance of any of the Debtors or their affiliates.

The financial information has been derived from the books and records of the Debtors. This information, however, has not been subject to certain procedures that would typically be applied to
financial information in accordance with U.S. GAAP, and upon application of such procedures, the Debtors believe that the financial information could be subject to material changes.

The results of operations contained herein are not necessarily indicative of results which may be expected for any other period or for the full year and may not necessarily reflect the combined
results of operations and financial positions of the Debtor in the future.

The Debtors reserve all rights to amend or supplement this MOR in all respects, as may be necessary or appropriate. Nothing contained in this MOR shall constitute a waiver of any of the
Debtors’ rights or an admission with respects to their chapter 11 cases.




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In re: Chinos Holdings, Inc., et al.                                                                                                MOR-1
                                                                            Case No. (Jointly Administered)                        20-32181
                                                                                         Reporting Period:                        30-May-20


                                                 Schedule of Cash Receipts and Disbursements



                          Debtor                           Case Number                 Cash Receipts1            Cash Disbursements1
     Chinos Holdings, Inc                                    20-32181           $                        -     $                    -
     Chinos Intermediate Holdings A, Inc                     20-32182                             20,148,196                        -
     Chinos Intermediate, Inc                                20-32183                                    -                          -
     Chinos Intermediate Holdings B, Inc                     20-32184                                    -                          -
     J. Crew Group, Inc.                                     20-32185                                 12,847                  8,975,358
     J. Crew Operating Corp.                                 20-32186                            149,854,232                 41,532,355
     Grace Holmes, Inc.                                      20-32187                                 20,339                     17,064
     H.F.D. No. 55, Inc.                                     20-32188                                 18,193                     11,476
     J. Crew, Inc.                                           20-32189                                444,678                    440,034
     J. Crew International, Inc.                             20-32190                                    -                          -
     J. Crew Virginia, Inc.                                  20-32180                                    -                          -
     Madewell Inc.                                           20-32191                                  4,498                      1,283
     J. Crew Brand Holdings, LLC                             20-32192                                    -                          -
     J. Crew Brand Intermediate, LLC                         20-32193                                    -                          -
     J. Crew Brand, LLC                                      20-32194                                    -                          293
     J. Crew Brand Corp.                                     20-32195                                    -                          -
     J. Crew Domestic Brand, LLC                             20-32196                                    -                          -
     J. Crew International Brand, LLC                        20-32197                                    -                          -

     Total Cash Receipts and Cash Disbursements                                 $                170,502,982   $                 50,977,863



     Notes:
     1. The cash receipts and disbursements are shown on an aggregate basis for the Debtors and have not been adjusted to remove intercompany
     transfers.




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In re: Chinos Holdings, Inc., et al.                                                                                                                                            MOR-2
Source: SOAL AB3                                                                                                               Case No. (Jointly Administered)              20-32181
                                                                                                                                            Reporting Period:              30-May-20


                                                                                 Bank Account Information

                                                                                                                                   Last 4 Digits of Account
                 Legal Entity                                     Bank                                Account type                                                   Balance1
                                                                                                                                           Number
Grace Holmes, Inc.                             Bank of America                              Store Deposit                                                 4684 $                1,054
Grace Holmes, Inc.                             Bank of America                              Clearance                                                     4621                  7,755
H.F.D. No. 55, Inc.                            Bank of America                              Store Deposit                                                 4671                  3,000
Madewell Inc.                                  Bank of America                              Store Deposit                                                 1206                    735
J. Crew Operating Corp.                        Bank of America Merrill Lynch                Investment                                                    1A06                    -
Madewell Inc.                                  Bank of America Merrill Lynch                --                                                            2685                    -
Madewell Inc.                                  Bank of America Merrill Lynch                --                                                            8360                    -
Grace Holmes, Inc.                             Capital One                                  Store Deposit                                                 0364                  1,413
H.F.D. No. 55, Inc.                            Capital One                                  Store Deposit                                                 0259                  1,168
Grace Holmes, Inc.                             Chase                                        Store Deposit                                                 1802                  2,593
H.F.D. No. 55, Inc.                            Chase                                        Store Deposit                                                 1810                  2,401
Madewell Inc.                                  Chase                                        Store Deposit                                                 1828                  2,878
J. Crew Operating Corp.                        HSBC                                         Open Account                                                  5201                    -
J. Crew Global Holdings B, LLC                 HSBC                                          Disbursement                                                 4501                    -
J. Crew Operating Corp.                        HSBC                                         Letter of Credit                                              6434                 (3,262)
Chinos Intermediate Holdings A, Inc.           JPM                                          DIP Funding Account                                           3865             12,603,196
Chinos Intermediate Holdings A, Inc.           JPM                                          Professional Fees Escrow Account                              3719              6,945,000
Chinos Intermediate Holdings A, Inc.           JPM                                          Utility Security Escrow Account                               8866                600,000
Grace Holmes, Inc.                             Key Bank                                     Store Deposit                                                 1222                    192
H.F.D. No. 55, Inc.                            Key Bank                                     Store Deposit                                                 3660                    824
Grace Holmes, Inc.                             PNC Bank                                     Store Deposit                                                 7131                    952
H.F.D. No. 55, Inc.                            PNC Bank                                     Store Deposit                                                 9887                  1,308
H.F.D. No. 55, Inc.                            TD Bank                                      Store Deposit                                                 6437                  1,474
Grace Holmes, Inc.                             TD Bank                                      Store Deposit                                                 3661                  1,375
J. Crew Group, Inc.                            US Bank                                      Payroll                                                       2966              5,092,145
Grace Holmes, Inc.                             US Bank                                      Store Deposit                                                 2079                    683
H.F.D. No. 55, Inc.                            US Bank                                      Store Deposit                                                 7830                    374
J. Crew Brand LLC                              US Bank                                      IPCo Notes                                                    6634                 46,451
Madewell Inc.                                  US Bank                                      --                                                            7576                    -
Grace Holmes, Inc.                             Wells Fargo                                  Store Deposit                                                 8543                  3,110
H.F.D. No. 55, Inc.                            Wells Fargo                                  Store Deposit                                                 9086                  3,624
J. Crew, Inc.                                  Wells Fargo                                  Clearance                                                     8323                  1,000
Chinos Holdings Inc.                           Wells Fargo                                  Disbursements                                                 2998                  1,774
J. Crew Operating Corp.                        Wells Fargo                                  Disbursements                                                 3096                    -
J. Crew Operating Corp.                        Wells Fargo                                  Concentration                                                 1816            127,209,154
J. Crew Inc.                                   Wells Fargo                                  --                                                            8336                    -
J. Crew Inc.                                   Wells Fargo                                  --                                                            8600                    -
J. Crew Operating Corp.                        Wells Fargo                                  Disbursements                                                 1861                    -
J. Crew Operating Corp.                        Wells Fargo                                  Wholesale                                                     1705                    -
J. Crew Global Holdings B, LLC                 Wells Fargo                                   Disbursement                                                 0913                    -
J. Crew Operating Corp.                        Wells Fargo                                  Investment                                                    0411                    -
Madewell Inc.                                  Wells Fargo                                  Store Deposit                                                 1442                  1,126
Madewell Inc.                                  Wells Fargo                                  Investment                                                    6104                    -
Madewell Inc.                                  Wells Fargo                                  --                                                            1015                    -
Madewell Inc.                                  Wells Fargo                                  --                                                            9681                    -
Madewell Inc.                                  Wells Fargo                                  --                                                            9699                    -
Madewell Inc.                                  Wells Fargo                                  --                                                            7801                    -
Madewell Inc.                                  Wells Fargo                                  --                                                            2756                    -
Total Cash                                                                                                                                                       $        152,533,497


Notes:
1. Cash and cash equivalents on the balance sheet (Appendix B) includes credit card receivables and therefore differs from the total cash balance shown above




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In re: Chinos Holdings, Inc., et al.                                                                                                                                   MOR-3
                                                                                                                      Case No. (Jointly Administered)                 20-32181
                                                                                                                                   Reporting Period:                 30-May-20


                                                                           Schedule of Payments to Insiders

                                                                                                                                                          Cumulative Payments
                    Professional                               Role / Capacity                                 Type               Amount Paid
                                                                                                                                                             Since Filing
Jan Singer                                    Chief Executive Officer                           Salary                      $                72,115     $                72,115
Libby Wadle                                   Chief Executive Officer - Madewell                Salary                                       54,808                      54,808
Michael Nicholson                             President - Chief Operating Officer               Salary                                       65,385                      65,385
Lynda Markoe                                  Chief Administrative Officer                      Salary and Expenses                          46,315                      46,315
Vincent Zanna                                 Chief Financial Officer                           Salary and Expenses                          32,737                      32,737

                                                                                                                            $               271,360     $              271,360




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In re: Chinos Holdings, Inc., et al.                                                                                                                          MOR-4
                                                                                                           Case No. (Jointly Administered)                   20-32181
                                                                                                                        Reporting Period:                   30-May-20


                                                                  Schedule of Payments to Professionals

                                                                                                                                                 Cumulative Payments
                              Payee                                             Role of Professional                   Amount Paid
                                                                                                                                                    Since Filing
KPMG                                                  Debtor Accountancy/Tax Adviser                                                  -                           -
Weil Gotshal & Manges LLP                             Debtor Legal Adviser                                                            -                           -
AlixPartners LLP                                      Debtor Financial Adviser                                                        -                           -
Lazard Freres & Co LLC                                Debtor Investment Banker                                                        -                           -
Omni Agent Solutions                                  Debtor Claims Agent                                                             -                           -
Hunton Andrews Kurth LLP                              Debtor Legal Adviser                                                            -                           -
Hilco Real Estate, LLC                                Debtor Real Estate Adviser                                                      -                           -
Pachulski Stang Ziehl & Jones LLP                     UCC Legal Adviser                                                               -                           -
Hirschler Fleischer                                   UCC Legal Adviser                                                               -                           -
Province, Inc.                                        UCC Financial Adviser                                                           -                           -
Back Bay Management Corp                              UCC Financial Adviser                                                           -                           -

                                                                                                                 $                    -      $                    -




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In re: Chinos Holdings, Inc., et al.                                                                                                                                                   MOR-5
                                                                                                                            Case No. (Jointly Administered)                           20-32181
                                                                                                                                         Reporting Period:                           30-May-20


                                                  Postpetition Status of Secured Notes, Leases Payable, and Adequate Protection Payments

                                                                                      PAYMENTS
                   Name of Creditor                       Description               Scheduled Monthly Payment Due                 Amount Paid                     Total Unpaid Postpetition
Bank of America, N.A.                        ABL Interest                          $                       990,437      $                         990,437     $                               -
Various Parties                              DIP Facility Fees                                                 -                                  597,778                                     -
Choate Hall & Stewart LLP                    ABL Advisor Fees                                                  -                                  235,825                                     -
Milbank LLP                                  Ad Hoc Committee Legal Adviser                                    -                                      -                                       -
Tavenner & Beran PLC                         Ad Hoc Committee Legal Adviser                                    -                                      -                                       -
PJT Partners, Inc.                           Ad Hoc Committee Banker                                           -                                      -                                       -
                                                                                                             TOTAL: $                            1,824,041    $                               -




                                                                                    DIP FINANCING
                  Name of Creditor                     Beginning Balance                      Draws                                Pay-Downs                          Ending Balance
DIP Facility                                  $                               -    $                       16,075,696   $                              -      $                    16,075,696
                                       TOTAL: $                               -    $                       16,075,696   $                              -      $                     16,075,696




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In re: Chinos Holdings, Inc., et al.                                                                                                                                   MOR-6
                                                                                                                    Case No. (Jointly Administered)                   20-32181
                                                                                                                                 Reporting Period:                  30-May-20


                                                             Accounts Receivable and Accounts Payable Aging

                     Accounts Receivable Aging1
       Accounts Receivable Days Aging                   Amount
  0-30                                      $               2,097,398
  31-60                                                        943,481
  61-90                                                      2,970,883
  91+                                                        1,688,725
  Other Non-Trade Receivables                               20,990,181
        Accounts Receivable (Gross)         $              28,690,668
  A/R Allowance for Bad Debts                                (4,440,685)
       Accounts Receivable (Net)                 $           24,249,984



                                                                           Accounts Payable Aging2 3
          Accounts Payable Category                     Current                 1-30 Days                 31-60 Days                 61+ Days                   Total
  Trade Payables                                            7,996,884                19,596,257                         -                         -     $         27,593,141


  Notes:
  1. Balances are spread across both Accounts Receivable, net and other current assets on the balance sheet at Appendix B.
  2. Includes postpetition balances only. Aging is based on the Debtors' books and records as of May 30, 2020 and represents open and outstanding invoices that have been
  entered into the Debtors' accounts payable system. The aging does not include accruals for invoices not yet received or approved and is aged based on due date.
  3. The accounts payable aging includes unpaid rent for the month of May that fell due on May 1, within 1-30 days past due.




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In re: Chinos Holdings, Inc., et al.                                                                                                                  MOR-7
                                                                                                   Case No. (Jointly Administered)                   20-32181
                                                                                                                Reporting Period:                  30-May-20


                                                                   Status Postpetition Taxes


                                                                                 Amount Withheld or
     Tax Category                                       Beginning Liability                                     Amount Paid              Ending Liability
                                                                                     Accrued
     Sales Tax                                      $                     -    $            7,712,207     $                    -     $              7,712,207
     Payroll Tax                                                          -                 4,422,572                    3,390,120                  1,032,452
     Property Tax1 2                                                      -                    48,780                          -                       48,780
     State Income/Franchise Tax                                           -                    69,271                          -                       69,271
     Other Taxes                                                          -                    96,300                       96,300                        -
                                             Total $                      -    $          12,349,130      $              3,486,420   $              8,862,709


     Notes:
     1. The Debtors do not accrue on a monthly basis for NYC Commercial Rent Tax, OH Commercial Activity Tax, SF Business Activity Tax. These taxes are
     excluded from the table above.
     2. Real estate and property taxes paid to landlords per the lease agreement are not included in the amounts above.




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In re: Chinos Holdings, Inc., et al.                                                                                                                                                     MOR-8
                                                                                                                                  Case No. (Jointly Administered)                      20-32181
                                                                                                                                               Reporting Period:                      30-May-20


                                                                                      Debtor Questionnaire

  General Questions                                                                                                                                                       Yes            No
  1.   HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?                                                                              X
  2.   HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?                                                                                          X
  3.   ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR LOANS) DUE FROM RELATED PARTIES?                                                                             X1
  4.   HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES THIS REPORTING PERIOD?                                                                                      X2
  5.   HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE DEBTOR FROM ANY PARTY?                                                                                            X3
  6.   ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                                                                                       X
  7.   ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES PAST DUE?                                                                                                                       X
  8.   ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                                                                                   X
  9. ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                                                                                           X
  10. ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS DELINQUENT?                                                                                                                          X
  11. HAVE ANY PREPETITION TAXES BEEN PAID DURING THE REPORTING PERIOD?                                                                                                   X4
  12. ARE ANY WAGE PAYMENTS PAST DUE?                                                                                                                                                     X

  Insurance                                                                                                                                                               Yes            No
  1.   ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER NECESSARY INSURANCE COVERAGES IN EFFECT?                                                                    X5
  2.   ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                                                                                             X5
  3.   PLEASE ITEMIZE POLICIES BELOW.

  Notes:
  1. Pursuant to the Final Order (I) Authorizing Debtors to (A) Continue Participating in Existing Cash Management System, and Using Bank Accounts and Business Forms, and (B) Continue
  Intercompany Transactions, (II) Providing Administrative Expense Priority for Postpetition Intercompany Claims, (III) Extension of Time to Comply with Requirements of 11 U.S.C. § 345(b),
  and (IV) Granting Related Relief (Docket No. 378), the Debtors continue to enter into ordinary course intercompany transactions postpetition consistent with the Debtors' operation of their
  business in the prepetition period.
  2. The Debtors made various payments on prepetition liabilities during the period pursuant to the interim and final first day orders.
  3. Pursuant to the Final Order (I) Authorizing The Debtors to Obtain Postpetiton Financing, (II) Authorizing The Debtors to Use Cash Collateral, (III) Granting Liens and Providing
  Superpriority Administrative Expense Claims, (IV) Granting Adequate Protection to Prepetition Secured Parties, (V) Modifying Automatic Stay, and (VII) Granting Related Relief (Docket No.
  447), the Debtors have secured postpetition debtor-in-possession financing.
  4. Pursuant to the Final Order (I) Authorizing the Payment of Certain Prepetition and Postpetition Taxes and Fees and (II) Granting Related Relief (Docket No. 103), the Debtors continue to
  pay prepetition taxes and fees as they come due.
  5. For a complete list of the insurance policies currently in effect, please see the Final Order (I) Authorizing the Debtors to Continue and Renew their Insurance Coverage and Policies Entered
  Into Prepetition and Satisfy Obligations Related Thereto and Related to the Surety Bond Program, and (II) Granting Related Relief (Docket No. 379). Supplemental information is shown on
  the following page.




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In re: Chinos Holdings, Inc., et al.                                                                                                                                                                      MOR-8A
                                                                                                                                                Case No. (Jointly Administered)                           20-32181
                                                                                                                                                             Reporting Period:                           30-May-20


                                                                                 Debtor Questionnaire - Insurance Supplement

   Change (New, Lapsed,      Policy Type                                           Insurance Carrier                       Policy Number             Policy Term                         Approximate Annualized
      Modified, etc.)                                                                                                                                                                           Premium
  Renewed                    D&O Insurance                                         AXA XL - Professional Insurance           ELU167313-20              05/14/2020 to 05/14/2021          $             580,000
  Renewed                    D&O Insurance                                         Berkeley Profession Liability             BPRO8054024               05/14/2020 to 05/14/2021          $             318,750
  Renewed                    D&O Insurance                                         Markel                                  MKLM6EL0005442              05/14/2020 to 05/14/2021          $             464,000
  Renewed                    D&O Insurance                                         Nationwide                                XMO2009266                05/14/2020 to 05/14/2021          $             268,192
  Renewed                    D&O Insurance                                         Beazley                                  V2B2E0200101               05/14/2020 to 05/14/2021          $             254,782
  Renewed                    D&O Insurance                                         Berkshire Hathaway Specialty Insurance   G71805530 001              05/14/2020 to 05/14/2021          $             250,000
  Renewed                    D&O Insurance                                         Hudson Insurance Group                 HN-0303-5614-051420          05/14/2020 to 05/14/2021          $             125,000
  Renewed                    D&O Insurance                                         Sompo International                     DOP30001681500              05/14/2020 to 05/14/2021          $             725,000
  Renewed                    D&O Insurance                                         Chubb                                    G71805530 001              05/14/2020 to 05/14/2021          $             318,750




  Notes:
  For a complete list of the insurance policies currently in effect, please see the Final Order (I) Authorizing the Debtors to Continue and Renew their Insurance Coverage and Policies Entered Into Prepetition and
  Satisfy Obligations Related Thereto and Related to the Surety Bond Program, and (II) Granting Related Relief (Docket No. 379). The above represents the Debtors’ insurance policies which have been modified
  during the reporting period:




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In re: Chinos Holdings, Inc., et al.

Appendix A - Consolidated Statement of Operations (In 000s)
Debtor Entities
                                                                                                                    For the
                                                                                                                     Four
                                                                                                                  Weeks Ended
                                                                                                                  May 30, 2020


   Total revenues........................................................................................     $          145,255
   Cost of goods sold, including buying and occupancy costs....................                                          110,511
   Gross profit............................................................................................               34,744
   Selling, general and administrative expenses.........................................                                  22,799
   Impairment losses...................................................................................                       30
   Income from operations..........................................................................                       11,915
   Interest expense, net...............................................................................                    2,767
   Reorganization items..............................................................................                      6,149
   Income before income taxes...................................................................                           2,999
   Provision for income taxes.....................................................................                           764
   Net income.............................................................................................    $            2,235

   Notes:
   The financial information has been derived from the books and records of the Debtors. This information,
   however, has not been subject to certain procedures that would typically be applied to financial
   information in accordance with U.S. GAAP, and upon application of such procedures, the Debtors believe
   that the financial information could be subject to material changes.




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In re: Chinos Holdings, Inc., et al.

Appendix B - Consolidated Balance Sheet (In 000s)
Debtor Entities                                                                                                                                    May 30,
                                                                                                                                                    2020
                                                                ASSETS
   Current assets:
       Cash and cash equivalents...............................................................................................                $       172,737
       Accounts receivable, net..................................................................................................                        7,768
       Merchandise inventories, net...........................................................................................                         412,646
       Prepaid expenses and other current assets.......................................................................                                 64,769
       Refundable income taxes.................................................................................................                         24,525
       Total current assets..........................................................................................................                  682,445
   Property and equipment, net...................................................................................................                      207,795
   Right-of-use lease assets........................................................................................................                   414,669
   Intangible assets, net...............................................................................................................               240,575
   Goodwill.................................................................................................................................           107,900
   Other assets............................................................................................................................             10,357
   Total assets.............................................................................................................................   $     1,663,741
                         LIABILITIES AND STOCKHOLDERS’ DEFICIT
   Current liabilities:
       Accounts payable.............................................................................................................           $         32,000
       Borrowings under the ABL Facility (1)...........................................................................                                 309,094
       Other current liabilities....................................................................................................                    110,990
       Due to subsidiaries, net....................................................................................................                      77,604
       Borrowings under the DIP Facility..................................................................................                               16,076
       Interest payable................................................................................................................                     694
       Total current liabilities.....................................................................................................                   546,458
   Deferred income taxes, net.....................................................................................................                       13,693
   Liabilities subject to compromise...........................................................................................                       2,594,449
   Other liabilities.......................................................................................................................              22,279
   Total liabilities........................................................................................................................          3,176,879
   Total stockholders’ deficit......................................................................................................                 (1,513,138)
   Total liabilities and stockholders’ deficit...............................................................................                  $      1,663,741

   Notes:
   1. Borrowings under the ABL Facility are classified as a current liability not subject to compromise because the proposed Plan of
   Reorganization treats such claims as unimpaired.




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